




NO. 07-02-0071-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



APRIL 3, 2002



______________________________





GERARDO PEREZ, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE COUNTY COURT AT LAW NO. TWO OF LUBBOCK COUNTY;



NO. 99-467299; HONORABLE DRUE FARMER, JUDGE



_______________________________



Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

Appellant Gerardo Perez filed a Motion to Dismiss Appeal on April 1, 2002, averring that he no longer wishes to prosecute his appeal. &nbsp;&nbsp;The Motion to Dismiss is signed by both appellant and his attorney. &nbsp;

Without passing on the merits of the case, appellant’s motion for voluntary dismissal is granted and the appeal is hereby dismissed. &nbsp;Tex. R. App. P. 42.2. &nbsp;&nbsp;Having dismissed 



the appeal at appellant’s personal request, no motion for rehearing will be entertained and our mandate will issue forthwith. &nbsp;





Phil Johnson

 &nbsp;&nbsp;&nbsp;	 &nbsp;&nbsp;&nbsp;Justice































































Do not publish


